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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division                 i l -'
                                                                            lu f     DEC 2 I 2018
SONY MUSIC ENTERTAINMENT,el ai.

                       PlaintifTs,

       V.                                         Civil Action No. 1:18cv0950(LO/JFA)

COX COMMUNICATIONS,INC.,el al.

                       Defendants.



                                             ORDER


       On Friday, December 21, 2018. counsel for the parties appeared before the court to

present argument on plaintiffs motion to compel. (Docket no. 54). Upon consideration of the

motion, memorandum in support(Docket no. 55). opposition (Docket no. 61), and reply(Docket

no. 65), and for the reasons stated from the bench, it is hereby

       ORDERED that plaintiffs motion to compel is granted in part and denied in part.

       Entered this 21st day of December, 2018.
                                                                   ./S/.
                                                      John F. Anderson


                                                      United States Magistrate Judge
Alexandria, Virginia
